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                  IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

MARVIN OWENS,                                   Case No. 2:24-cv-10787-GAD-APP
   Inmate No. 20232255,
   MDOC No. 767206,
                                                Honorable Judge Gershwin A. Drain
             Plaintiff,                         Magistrate Judge Anthony P. Patti
v.

GARY SCHUETTE, Jackson County
Sheriff, in his official capacity, only;
ANTHONY STEWART, Captain Jackson
County Sheriff’s Office, Jackson County Jail,
in both his individual and official capacity,
MIKE COBURN, Lieutenant, Jackson
County Sheriff’s Office, Jackson County Jail,
in both his individual and official capacity,
TIGGS CANTEEN SERVICES, INC.,
Michigan For profit corporation,

             Defendants.
__________________________________________________________________
 Amy V. Doukoure (P80461)          Andrew J. Brege (P71474)
 CAIR-MI LEGAL FUND                Thomas D. Beindit (P81133)
 Attorney for Plaintiff            ROSATI SCHULTZ, JOPPICH,
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 DEFENDANTS’ RESPONSE TO PLAINTIFF’S BRIEF IN SUPPORT OF
            DAMAGES PURSUANT TO ECF NO. 17
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      I.     Introduction

      Based on the materials submitted in this case, Plaintiff’s claims seeking

monetary damages are appropriately dismissed because (1) the RLUIPA’s protection

of religious exercise of institutionalized persons does not authorize monetary

damages against counties or county prison officials and (2) Plaintiff is not entitled

to damages under 42 U.S.C. § 1983 because the Ramadan Meal Diet was

constitutional and lawful. As addressed below and more thoroughly set forth in

Defendants’ primary Motions and briefs (ECF Nos. 14 and 19), monetary damages

are not an available remedy in this matter under RLUIPA or 42 U.S.C. § 1983 and a

review of the actual evidence applied to relevant law leads to one conclusion:

summary judgment for Defendants on all claims is appropriate.

      II.    The RLUIPA does not authorize monetary damages against
             counties or county officials.

      The RLUIPA prohibits the “government” from imposing a “substantial

burden on the religious exercise of a person residing in or confined to an institution,”

but only to the extent that the "substantial burden is imposed in a program or activity

that receives Federal financial assistance. 42 U.S.C. § 2000cc–1(a)-(b). For purposes

of this provision, “government” includes, inter alia, States, counties, municipalities,

their instrumentalities and officers, and persons acting under color of state law. 42

U.S.C. § 2000cc–5(4)(A); Sossamon v. Texas, 563 U.S. 277, 282 (2011).

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      A person may assert a “violation” of the RLUIPA in any “judicial proceeding

and obtain appropriate relief. . . .” 42 U.S.C. § 2000cc–2 (emphasis added). Some

courts have interpreted the term “appropriate relief” as including “monetary relief”

while others have interpreted the term to mean only “injunctive” or “declaratory”

relief. Compare Smith v. Allen, 502 F.3d 1255, 1270 (11th Cir. 2007) (overruled on

other grounds) (holding that “the use of the phrase ‘appropriate relief’ in section 3

of the RLUIPA … is broad enough to encompass the right to monetary damages in

the event a plaintiff establishes a violation of the statute”) with Sossamon, 563 U.S.

at 277 (finding that the term “appropriate relief” is too ambiguous to impose liability

for money damages). Other courts have interpreted the term “appropriate relief” as

including “monetary” relief, but not as to persons sued in their individual capacity,

as they do not receive federal funds. Smith, 502 F.3d at 1271; see also Mease v.

Washington, No. 2:20-cv-176, 2021 WL 1921071, at *15 (W.D. Mich., May 13,

2021) (noting that most courts “have concluded that statutes based on the Spending

Clause, such as the RLUIPA, should not generally be interpreted to impose liability

on individuals who do not themselves receive federal funds”). 1

1
  This is especially true as to Plaintiff’s individual capacity claims against
Defendants Captain Stewart and Lieutenant Coburn, as the Jackson County Sheriff’s
Office does not receive any federal funds. Thus, even if Plaintiff could establish a
violation of the RLUIPA, the Court would need to dismiss the claim(s) on the
grounds that Plaintiff is not entitled to any of the relief (declaratory, injunctive, or
monetary) that he has requested. Holland v. Goord, 758 F.3d 215, 224 (2d Cir. 2014)
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      RLUIPA does not create a cause of action against an individual in that

individual’s personal capacity. Sossamon v. Lone Star State of Texas, 560 F.3d 316,

331 (5th Cir. 2009), aff’d, 563 U.S. 277 (2011). The United States Supreme Court

granted certiorari only on the question of “[w]hether an individual may sue a State

or state official in his official capacity for damages for violation of” RLUIPA.

Sossamon v. Texas, 560 U.S. 923 (2010). Thus, the Supreme Court left undisturbed

and unreviewed the Fifth Circuit’s holding that “RLUIPA does not create a cause of

action against defendants in their individual capacities.” Root v. Jones, No. 1:22-

CV-240, 2022 WL 1681720, at *6 (W.D. Mich. May 26, 2022) (quoting Sossamon,

560 F.3d at 331).

      In Haight v. Thompson, 763 F.3d 554 (6th Cir. 2014), the Sixth Circuit

analyzed whether Congress's spending power permitted a RLUIPA damages claim

against an individual prison official in the official's personal capacity. The court

rested its determination that such claims were not permitted on its conclusion that

“appropriate relief” under RLUIPA was not a sufficiently clear statement to

authorize such damages. Id. at 567–69. The Sixth Circuit stopped short of adopting




(recognizing that even if plaintiff was “likely to prevail on the substance of his
RLUIPA claim” summary judgment was appropriate on the grounds that Plaintiff's
claim for “money damages” was “barred” and plaintiff's claim for “injunctive relief”,
like here, was “moot”).
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the reasoning that swayed the Fifth Circuit in Sossamon and subsequent federal

circuit court panels.

      The Sixth Circuit has construed the term “appropriate remedy” as allowing

for injunctive and declaratory relief but not monetary relief. Id. at 568. This is true

not only when the claim is being asserted against the governmental entity but also

when the claim is being asserted against a governmental official in his/her official

capacity or individual capacity. Spearman v. Williams, No. 1:17-cv-1070, 2023 WL

6829785, at *3 (W.D. Mich., Oct. 17, 2023) (“RLUIPA does not permit damages

claims against prison officials in their official capacities”); Root, 2022 WL 1681720,

at *6 (“RLUIPA does not permit damages claims against prison officials in their

official capacities”); Chaaban v. City of Detroit, No. 20-cv-12709, 2021 WL

4060986, at *5 (E.D. Mich. Sept. 7, 2021) (dismissing Plaintiff's RLUIPA claim for

“money damages against [defendants] in their individual capacities”); Eidam v.

County of Berrien, No. 1:19-cv-978, 2019, 2019 WL 7343354, at *8 (W.D. Mich.,

Dec. 31, 2019) (explaining that “a money-damages claim cannot be sustained against

counties or municipalities”).

      In this case, Plaintiff is seeking monetary relief (among other things), but such

relief is not permitted against county jail officials under the RLUIPA. Plaintiff’s

brief largely discusses how some courts have analyzed the issue of monetary relief


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in terms of “sovereign immunity,” while others have analyzed the issue in terms of

whether Congress clearly intended the term “appropriate relief” to include

“monetary relief.” (Plt’s Brf., at 1-8, ECF No. 18, PageID.287-294). However, it

makes no difference that Plaintiff is asserting claims here against municipal actors

as opposed to the “state” because Sixth Circuit has concluded that monetary damages

are unavailable under either theory. Haight, supra at 569. The Sixth Circuit

interpreted Sossamon to preclude money-damages claims against state officials in

their individual capacities. Id. at 568 (“Sossamon considered lawsuits against prison

officials in their official capacity, not a claim against the prison officials in their

individual capacity”). Thus, this “analysis extends to county and municipal

governments and to their officials.” Eidam, 2019 WL 7343354, at *8.

      Plaintiff contends that the U.S. Supreme Court decision in Tanzin v. Tanvir,

592 U.S. 43 (2020), modified its prior decision in Sossamon to allow damage claims

pursuant to RLUIPA. (ECF No. 18, PageID.291, n. 1). However, the Supreme

Court’s holding in Tanzin involved federal (not municipal) officials being sued in

the context of the Religious Freedom Restoration Act (“RFRA”), as opposed to the

RLUIPA2, and money damages are “the only form of relief that can remedy some

2
  The U.S. Supreme Court held the RFRA to be unconstitutional as applied to state
and local governments. City of Boerne v. Flores, 521 U.S. 507, 536 (1997). Unlike
the RFRA, which required religious accommodation in virtually all spheres of life,
RLUIPA only applies to prisoner and land use cases.
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RFRA violations.” Tanzin, supra at 51 (original emphasis). Due to the substantial

contextual difference between the RLUIPA and RFRA, most district courts3 post-

Tanzin have held that Haight remains controlling authority. Mease, 2021 WL

1921071, at *16 (“[T]he basis of the Haight court's decision—the need for clarity in

statutes promulgated under the Spending and Commerce Clauses—did not apply in

Tanzin. As a consequence, Tanzin did not abrogate Haight, which remains

controlling authority in this circuit.”); Catlett v. Washington, No. 20-13283, 2021

WL 3680196, at *5 (E.D. Mich. Aug. 19, 2021), reconsideration denied, 2021 WL

4593945 (E.D. Mich. Oct. 6, 2021) (“Tanzin does not expressly overrule Haight,

nor does it mention the RLUIPA.”); Chaaban, 2021 WL 4060986, at *5 (“[W]ithout

further guidance from the Sixth Circuit, the Court finds Haight to be controlling and

DISMISSES Plaintiff's RLUIPA claim for money damages against [defendants] in

their individual capacities.”).

      Moreover, opposing counsel is well-familiar with these holdings, as she has

argued to the contrary herself on several occasions in similar cases. See, e.g. Catlett,



3
  But see Ruplinger v. Louisville/Jefferson Cty. Metro Gov't, No. 3:19-CV-583-
DJH-RSE, 2021 WL 682075, at *4 (W.D. Ky. Feb. 22, 2021) (finding found that
Tanzin abrogated the Sixth Circuit's holding in Haight that RLUIPA also does not
authorize money damages claims against officials in their individual capacities.)
However, the Eastern District of Michigan has twice declined to follow this Court's
reasoning in Ruplinger and adopted the holding in Mease instead. Chaaban, 2021
WL 4060986, at *5; Catlett, infra at *6.
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2021 WL 3680196, at *5 (“The parties dispute the effect of . . . Tanzin [ ] on the

availability of damages for individual capacity claims under the RLUIPA.”);

Chaaban, 2021 WL 4060986, at *5 (dismissing claim for monetary relief); Moore

v. Washington, Case No. 2019-cv-13616, 2021 WL 1151528, at *2 (E.D. Mich.,

Dec. 29, 2021) (dismissing claim for monetary relief). Opposing counsel has

repeatedly argued that Haight is no longer controlling after the Supreme Court’s

decision in Tanzin4, but these arguments have been consistently rejected. Catlett,

2021 WL 3680196, at *5 ("Tanzin does not expressly overrule Haight, nor does it

mention the RLUIPA.”); Chaaban, 2021 WL 4060986, at *5 (recognizing that

“Tanzin” did not abrogate Haight and that Haight remains controlling authority in

this circuit”); Moore, 2021 WL 1151528, at *2 (denying motion for reconsideration

with respect to whether “Tanzin abrogates Haight”).

      Next, Plaintiff cites Tree of Life Christian Sch. v. City of Upper Arlington,

905 F.3d 357 (6th Cir. 2018) to suggest that the Sixth Circuit has “hinted” that

Haight doesn’t govern municipal liability under RLUIPA. (Plt’s Brf., at 6-7, ECF

No. 18, PageID.292-293). However, this proposition is unproductive because Tree

of Life analyzed damages allowed against a municipality within the provisions of

RLUIPA’s land use violations, 42 U.S.C. § 2000cc [emphasis added], which is


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 See also Hague v. Kent County, et al., Case No. 1:24-cv-00009-HYJ-PJG, W.D.
Mich.
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clearly not at issue here. Plaintiff summarily assumes the Tree of Life Court did not

invoke its decision in Haight and thus “signaled that its interpretation of the

applicability of the remedies provision to municipalities was not covered or

abrogated by its prior decision,” but Haight is readily distinguishable.5

      Finally, Plaintiff cites several cases as “persuasive authority” in which courts

have reached different conclusions (Plt’s Brf., at 6-8, ECF No. 18, PageID.292-294),

but those cases are from outside this jurisdiction and are thus not binding in this

Circuit. Hillman Power Co., LLC v. On-Site Equip. Maint., Inc., 582 F. Supp. 3d

511, 515 (E.D. Mich. 2022) (“a district court is not bound by decisions of . . . other

circuits”). Moreover, all three cases cited by Plaintiff (much like Tree of Life)

analyze damages allowed against a municipality within the provisions of RLUIPA’s

land use violations, 42 U.S.C. § 2000cc [emphasis added], which is clearly not at

issue here, let alone sufficiently analogous to constitute any “persuasive authority”

applicable to the religious exercise protections afforded to institutionalized persons,

like Plaintiff Owens, under 42 U.S.C. § 2000cc–1.




5
 Likewise, Tree of Life is readily distinguishable from the instant case. The Sixth
Circuit remanded the RLUIPA claim seeking money damages to the district court
because “Tree of Life has not abandoned its money-damages claim; nor did the
district court's permanent injunction moot it.” See Tree of Life, 905 F.3d at 366.
However, the Court here declined to award a preliminary injunction (ECF No. 17,
PageID.283) and Defendants do not argue abandonment.
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         Here, Plaintiff sues Defendants Captain Stewart and Lieutenant Coburn in

both their individual and official capacities6. (ECF No. 1, PageID.5-7). As noted

above, Plaintiff may not maintain a RLUIPA claim against Defendants in their

individual capacities, and he may not maintain claims for monetary damages against

Defendants in their official capacities. Therefore, Plaintiff's RLUIPA claims should

be dismissed.

         III.   Any monetary damages allowed under RLUIPA are subject
                to PLRA’s requirements.

         Even, assuming arguendo, that the Court held the phrase “appropriate relief”

for institutionalized person in RLUIPA encompasses monetary as well as injunctive

relief, it bears pointing out that a prisoner plaintiff's right to monetary relief is

severely circumscribed by the terms of the Prisoner Litigation Reform Act

(“PLRA”). 42 U.S.C. § 1997e; see generally 42 U.S.C. § 2000cc–2(e) (“Nothing in

this chapter shall be construed to amend or repeal the Prison Litigation Reform Act

of 1995 (including provisions of law amended by that Act).”) For instance, PLRA

provides that a prisoner may not bring a federal civil action “for mental or emotional

injury suffered while in custody without a prior showing of physical injury.” 42

U.S.C. § 1997e(e). Moreover, a facial review of the pleadings suggests Plaintiff’s

claims may be barred based on Plaintiff’s failure to exhaust his administrative


6
    Sheriff Schuette is sued in his official capacity, only.
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remedies, 42 U.S.C. § 1997e(a), as outlined within Defendants’ prior briefings. ECF

No. 14, PageID.136-139; ECF No. 19, PageID.310-312. Oddly enough, Plaintiff’s

brief lacks any mention of PLRA, yet provides extraneous discussion of RLUIPA’s

land use provisions as outlined, supra. See Pltf.’s Brief, ECF No. 18, PageID.289

(“Sossamon does not and cannot be argued to prohibit damages under RLUIPA

against a municipality for a violation of its land use provision.” [emphasis added]);

Id., PageID.293 (“several circuits have distinguished Sossamon’s sovereign

immunity analysis from RLUIPA land use violations”); Id., PageID.294 (“The Ninth

and Third Circuits have also allowed for damages against a municipality in RLUIPA

land use violations like those at issue in this case”).

      IV.    Plaintiff is not entitled to damages under 42 U.S.C. § 1983
             because the Ramadan Meal Diet was constitutional and
             lawful.

      When a person enters prison, the right to free exercise of religion will

sometimes conflict with the penological objectives of the corrections system. Green

v. Tudor, 685 F. Supp. 2d 678, 696 (W.D. Mich. 2010). In those circumstances the

court must “balance the prisoners’ constitutionally protected interest in the free

exercise of their religious beliefs against the state's legitimate interests in operating

its prisons.” Mease, 2021 WL 1921071, at *11 (“[W]hen a prison regulation

impinges on inmates' constitutional rights, the regulation is valid if it is reasonably


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related to legitimate penological interests.”); see also Al-Kadi v. Ramsey Cnty., No.

CV 16-2642, 2019 WL 2448648, at *11 (D. Minn. June 12, 2019) (court must “give

due deference to the experience and expertise of prison and jail administrators in

establishing necessary regulations and procedures to maintain good order, security

and discipline”); J.H. v. Bratton, 248 F. Supp. 3d 401, 409 (E.D. N.Y. 2017) (“when

the government seeks to enforce a law that is neutral and of general applicability, . .

. it need only demonstrate a rational basis for its enforcement, even if enforcement

of the law incidentally burdens religious practices”); Green, supra at 696 (“prison

officials should be accorded wide-ranging deference in the adoption and execution

of policies and practices that in their judgment are needed to preserve internal order

and discipline and to maintain institutional security.”) (internal citation omitted).

      In the prison context, while RLUIPA may provide greater protections than the

First Amendment, Fox v. Washington, 549 F.3d 270, 277 (6th Cir. 2020), a plaintiff

must still establish that the “challenged governmental action substantially burdens

the exercise of religion.” Green, 685 F. Supp. 2d at 703 (emphasis added); see also

Living Water Church of God v. Charter Twp. of Meridian, 258 Fed. App’x 729,

734 (6th Cir. 2007) (recognizing that “‘substantial burden’ is a difficult threshold to

cross”). If the plaintiff establishes a substantial burden the defendant may defeat the

claim by establishing a “compelling” state interest that cannot be accomplished by


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less “restrictive” means. Green, supra at 703; see also 42 U.S.C. § 2000cc–1(a). As

outlined in Defendants’ Motion to Dismiss (ECF No. 14, PageID.130), Defendants

have not imposed any substantial burden on Plaintiff’s religious exercise and

therefore has not pled a cognizable violation of his First Amendment free exercise

rights. Holt v. Hobbs, 574 U.S. 352, 361 (2015). And without a constitutional

violation, Plaintiff is likewise not entitled to damages under 42 U.S.C. § 1983.

      V.     Conclusion

      For the reasons stated above, Defendants respectfully request this Court

GRANT their Motion to Dismiss (ECF No. 19) and DISMISS Plaintiff’s claims

against them with prejudice.

                                  Respectfully submitted,

                                  ROSATI, SCHULTZ, JOPPICH, & AMTSBUECHLER,
                                  P.C.

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                          CERTIFICATE OF SERVICE

      I hereby certify that on May 2, 2024, I electronically filed the foregoing papers

with the Clerk of Court, using the ECF system, which will send notification of such

filing to the attorneys of record.

                                     Respectfully submitted,

                                     ROSATI, SCHULTZ, JOPPICH, & AMTSBUECHLER,
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